Case 1:05-cr-00126   Document 490   Filed 03/20/09     Page 1 of 1 PageID #: 3687



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA


v.                                        CRIMINAL NO. 1:05-00126-05


TONYA S. GIBSON

                     MEMORANDUM OPINION AND ORDER

     The court is in receipt of letters from defendant and her

mother asking the court to reduce defendant's sentence, sentence

her to home confinement, and/or otherwise reduce her sentence.

The court may not modify a term of imprisonment once it has been

imposed except in very limited circumstances, none of which are

present here.    See 18 U.S.C. § 3582(c); U.S. v. Hudson, 2002 WL

1980686 (10th Cir. 2002); U.S. v. Fraley, 988 F.2d 4 (4th Cir.

1993).

     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to defendant, counsel of record, the Probation

Office of this court, and the United States Marshal for the

Southern District of West Virginia.

     It is SO ORDERED this 20th day of March, 2009.

                                    ENTER:



                                    David A. Faber
                                    Senior United States District Judge
